
74 So. 3d 215 (2011)
Judy LYONS
v.
Ann KNIGHT, Mark Knight, Kelly Knight, and Knight Oil Tools, Inc.
No. 2011-C-1229.
Supreme Court of Louisiana.
October 14, 2011.
In re Knight Oil Tools Inc.; Knight, Ann et al; Knight, Mark; Sobiesk, Kelly Knight;Defendant(s); Applying For Writ of Certiorari and/or Review, Parish of Lafayette, 15th Judicial District Court Div. L, No. 2010-0734; to the Court of Appeal, Third Circuit, No. 10-1470.
Denied.
KIMBALL, C.J., would grant.
KNOLL, J., recused.
